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                          EXHIBIT 4
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Contact
                                 Charlotte McCrary
www.linkedin.com/in/charlotte-   Senior Account Executive at WestFax, Inc.
mccrary-43443042 (LinkedIn)      Pinehurst, Texas, United States
www.zebra-llc.com (Company)
www.kueducation.com/ (Company)
                                 Summary
Top Skills                       WestFax is the leader in fax transmission.
Customer Service
PowerPoint                       Our Powerful APIs enable you to send, receive and track your faxes
Microsoft Office                 effortlessly. Seamlessly send faxes from within your applications
                                 without the expense of complicated custom hardware and software
                                 solutions. Transform your business processes while dramatically
                                 improving productivity by adding the ability to fax from within your
                                 mission-critical software applications.


                                 WestFax provides the highest level of security for healthcare,
                                 government and financial organizations. PCI and HIPAA compliant.


                                 WestFax is based in Lone Tree, CO and is celebrating 16 years of
                                 excellence.


                                 Specialties: Fax Broadcast, Fax API (SOAP, REST, XML), Web
                                 Fax, Fax Forward and Broadcast Voice, SaaS, Cloud Services,
                                 Internet Fax, TDM, VOIP, HIPAA and Security. EHR Integration,
                                 EHR Systems, EMR Integration, Medical Software Integration,
                                 Pharmacy fill solutions, Pharmacy refill solutions, Pharmacy
                                 Software Integration. Medical Device.



                                 Experience
                                 WestFax, Inc.
                                 Senior Account Executive
                                 November 2012 - Present (11 years 5 months)
                                 Centennial, Colorado, United States


                                 Zebra Consulting, LLC
                                 Chief Financial Officer
                                 December 2008 - Present (15 years 4 months)
                                 Denver, CO

                                 About Us
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                           --Who we are
                           Zebra Consulting, LLC is a business and IT consulting company, and a
                           recognized leader with deep industry, business, and technology experience.


                           From business strategy development through application deployment, we are
                           committed to helping clients quickly realize measurable business value and
                           achieve sustainable ROI.


                           We offer the agility of a smaller firm, the stability of larger firms, and the
                           innovation that comes with being part of Zebra Consulting, LLC.
                           --How we inspire
                           With a balanced view of strategy, people, process and technology, we work
                           with companies to understand their unique business needs, and to develop
                           and implement practical business strategies and technology solutions.


                           Clients benefit from our tradition of transferring knowledge throughout each
                           engagement. They also value our responsiveness, flexibility and authentic
                           desire to help them meet, and often exceed, their goals.


                           Knowledge Learning Corporation
                           Teacher
                           October 2007 - February 2012 (4 years 5 months)


                           Globe Unified School District
                           Transportation
                           August 1995 - August 1998 (3 years 1 month)
                           Globe, AZ


                           United States Air Force
                           Senior Airman
                           June 1991 - August 1994 (3 years 3 months)
                           Beale Air Force Base, CA

                           Transportation




                           Education
                           Metropolitan State College of Denver
                           BA, Bachelor of Arts in Behavioral Science · (2001 - 2005)




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